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JS-6

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

CASE NUMBER:

Quinton Smith,

Plaintiff CV 21-6468 CAS (MRW)

aintiff,
V.
ORDER DENYING REQUEST TO PROCEED
Sheriffs, WITHOUT PREPAYMENT
OF FILING FEES
Defendant(s). AND CLOSING CASE

 

On August 17,2021 _, the Court DENIED plaintiffs request to file the action without prepayment of
the full filing fee with leave to amend. Plaintiff was advised to resubmit the Request to Proceed Without
Prepayment of Filing Fees and Complaint with a certified copy of the Trust Account Statement and
Disbursement Authorization within 30 days, and failure to do so would result in closure of the case.

Plaintiff has failed to submit a timely response. Accordingly, the Request to Proceed without

Prepayment of Filing Fees is DENIED and the case is closed.

 

IT IS ORDERED.

DATED: October 6, 2021 hhiuotoa d brydt__
United States Distrit Judge

Presented by:

LU —

Michael R. Wilner
United States Magistrate Judge

 

IFP-9 (04/15) ORDER DENYING REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES AND CLOSING CASE
